moon Case 2:03-cr-20047-SH|\/| Document 86 Filed 05/16/05 Page 10f2 Page|D 121

 

 

 

(Rev.srss) /1
UNITED sTATEs nlsTRICT COURT mg w W 0 v
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wEsTERN DISTRICT oF TENNESSEE
wEsTERN l)lvlsloN
U.s.A. vs. vALERIE L. ALBoNETTI pocket No. 2:03<:3;0047-01

Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER ll PROBATI()N ()FFICER OF THE COURT presenting
an official report upon the conduct and attitude of Valerie L. Albonetti who was placed on supervision by the
Honorable Samuel H. Mays, Jr. sitting in the Court at Memphis, TN on the B day of Janu_ag, M who fixed the
period of supervision at two 121 years*, and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the probation
officer for treatment of narcotic addiction or drug or alcohol dependency Which may include testing for the detection

of substance use or abuse.

The defendant shall participate as directed in a program of mental health treatment approved by the probation
officer.

* In the instant offense, Probation began January 9, 2004, but Was revoked August l 9, 2004, With a Sentence of thirty

(30) days imprisonment and a one (l) year term of Supervised Release, which began September 14, 2004, With the

following condition added to the previously imposed conditions:

The defendant shall serve six (6) months community confinement

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHEI))

PRAYING THAT THE COURT WILL ORDER that the Petition to revoke bond filed on April 26, 2005, be
dismissed as the underlying violation has been disposed.

ORDER OF COURT Respectfully,
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Con's'i.`dered and ordered this {‘?!L day LA; §§ C%Z if
of “_‘“_§] , 2025m and ordered filed and Freddie McMaster Il

made a pa WWV€ case. Probation Officer

Place Memnhis. Tennessee
United States District Judge

 

pace May 13. 2005 /`

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DISTRIC COURT - WEERi\iST D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:03-CR-20047 Was distributed by faX, mail, or direct printing on
May lS, 2005 to the parties listed.

 

 

EdWin A. Perry

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Honorable Samuel Mays
US DISTRICT COURT

